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14
                                UNITED STATES DISTRICT COURT
15
16                           NORTHERN DISTRICT OF CALIFORNIA

17                                      OAKLAND DIVISION

18
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
19
                    Plaintiff, Counter-defendant,    PLAINTIFF’S ADMINISTRATIVE
20                                                   MOTION TO CONSIDER WHETHER
                           v.                        ANOTHER PARTY’S MATERIAL
21
                                                     SHOULD BE SEALED PURSUANT TO
      APPLE INC.,                                    CIVIL LOCAL RULE 79-5
22
23                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
24
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28
     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
       Case 4:20-cv-05640-YGR            Document 1433         Filed 04/07/25      Page 2 of 3




 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff Epic Games, Inc. (“Epic”)
 2   submits this administrative motion to consider whether another party’s material should be sealed
 3   with respect to its Epic’s Objections to Special Master Determinations Issued April 1, 2025
 4   Regarding Apple’s Withheld Documents (“Objections”), the Declaration of Yonatan Even (“Even
 5   Declaration”) and Exhibits A through B, all dated April 7, 2025. The documents and portions of
 6   documents Epic seeks to temporarily file under seal are listed below:
 7
            Document                            Corresponding Page and Line Number(s)
 8
            Exhibit A to the Even               Document in its entirety.
 9          Declaration
            Exhibit B to the Even               Document in its entirety.
10          Declaration
11          Epic takes no position on the sealing of Exhibit A.

12          Epic opposes the sealing of Exhibit B; this document was admitted into evidence (as CX-

13   0246), portions thereof were presented in open court during the evidentiary hearings, and no

14   portion thereof warrants sealing beyond PII, internal project codenames and non-public Apple

15   financial information. On March 5, 2025, Epic provided Apple with proposed public versions of

16   all Exhibits admitted into evidence during the evidentiary hearings, and asked Apple to agree to

17   Epic’s proposed redactions of confidential information, but Apple has declined to agree to any

18   public versions to date. Accordingly, because Apple stands on its designation of these documents

19   as confidential under the protective order in this case, Epic seeks leave to provisionally file the

20   document under seal. See Local Rule 79-5(f). Epic reserves the right to oppose, under Rule 79-

21   5(f)(4), any submission Apple makes to support sealing under Rule 79-5(f)(3). Epic also hereby

22   provides notice of lodging to all parties and their counsel pursuant to Civil Local Rule 79-5(f).

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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                  1           CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
      Case 4:20-cv-05640-YGR      Document 1433      Filed 04/07/25     Page 3 of 3




 1   Dated: April 7, 2025                   Respectfully submitted,
 2
                                            By:   /s/ Yonatan Even
 3
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 4                                          LLP

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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S         2          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
